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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE
DALE AND DEBORAH CROCKER, Chapter 13
Debtors, Case No.: 04-14200
DEBORAH CROCKER, 0 R l GE N A |_
Plaintiff,
Adversary No. 08-1053-SDB
v.
NCO FINANCIAL SYSTEMS,
INC. and ASSET MANAGEMENT
PROFESSIONALS, LLC,

Defendants.

 

NCO’S ANSWER AND AFFIRMATIVE DEFENSES»‘”;`;_E

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Defendant, NCO Financial Systems, Inc., (“NCO”), by andm tl§‘<ou§ its
undersigned counsel, files this Answer and Affirmative Defenses to Plaintiff’s
Cornplaint and states as follows:

STATEMENT OF JURISDICTION

NCO leaves all matters of jurisdiction to the Court; therefore, NCO denies

the allegations contained in Plaintiff’ s Staternent of Jurisdiction regarding

jurisdiction NCO admits that it is a corporation lawfully authorized to conduct

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business in the state of Georgia and may be served by Summons and Complaint as
proscribed by Bankruptcy Rule 7004(h) as alleged in Plaintiff"s Statement of
Jurisdiction. NCO denies the remaining allegations contained in Plaintiff’s
Statement of Jurisdiction for lack of knowledge or information to form a
reasonable belief therein.
STATEMENT OF THE CASE

l. NCO admits upon information and belief that Plaintiff filed for
Chapter 13 Bankruptcy on November 18, 2004 and that Plato Student loans was
listed a creditor in Plaintiff"s Chapter 13 Bankruptcy. NCO denies the remaining
allegations contained in 11 l of Plaintiff’s Complaint for lack of knowledge or
information to form a reasonable belief therein

2. The documents speak for themselves and are the best evidence of their
content. NCO denies liability and damages, and to the extent the allegations
contained in 11 2 of Plaintiff’s Complaint state otherwise, they are denied. NCO
denies any remaining allegations contained in 1[ 2 of Plaintiff"s Complaint for lack
of knowledge or information to form a reasonable belief therein.

3. NCO admits upon information and belief that Plaintiff’s Chapter 13

Bankruptcy was confirmed on April 25, 2005. NCO denies the remaining

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allegations contained in 11 3 of Plaintiff"s Complaint for lack of knowledge or
information to form a reasonable belief therein.

4. The documents speak for themselves and are the best evidence of their
content. NCO denies liability and damages, and to the extent the allegations
contained in 11 4 of Plaintiff" s Complaint state otherwise, they are denied. NCO
denies any remaining allegations contained in 11 4 of Plaintiff"s Complaint for lack
of knowledge or information to form a reasonable belief therein.

5. NCO admits upon information and belief the allegations contained in
11 5 of Plaintiff"s Complaint.

6. NCO denies the allegations contained in 1 6 of Plaintiff’s Complaint
for lack of knowledge or information to form a reasonable belief therein.

7. NCO denies the allegations contained in 11 7 of Plaintiff’ s Complaint.

8. The documents speak for themselves and are the best evidence of their
content. NCO denies liability and damages, and to the extent the allegations
contained in 11 8 of Plaintiff’ s Complaint state otherwise, they are denied. NCO
denies any remaining allegations contained in 11 8 of Plaintiff"s Complaint for lack
of knowledge or information to form a reasonable belief therein.

9. The document speaks for itself and is the best evidence of its content.

NCO denies liability and damages, and to the extent the allegations contained in 1

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9 of Plaintiff’s Complaint state otherwise, they are denied. NCO denies any
remaining allegations contained in 1[ 9 of Plaintiff’s Complaint for lack of
knowledge or information to form a reasonable belief therein.

lO. NCO denies receipt of said letter, and accordingly admits the
allegations contained in 11 10 of Plaintiff’s Complaint.

ll. The documents speak for themselves and are the best evidence of their
content. NCO denies liability and damages, and to the extent the allegations
contained in 11 ll of Plaintiff’s Complaint state otherwise, they are denied. NCO
denies any remaining allegations contained in 1 11 of Plaintiff’s Complaint for lack
of knowledge or information to form a reasonable belief therein.

12. The document speaks for itself and is the best evidence of its content.
NCO denies liability and damages, and to the extent the allegations contained in 11
12 of Plaintiff’s Complaint state otherwise, they are denied. NCO denies receipt of
said letter, and accordingly admits no response was sent. NCO denies any
remaining allegations contained in ll 12 of Plaintiff"s Complaint for lack of
knowledge or information to form a reasonable belief therein.

13. The documents speak for themselves and are the best evidence of their
content. NCO denies liability and damages, and to the extent the allegations

contained in 11 13 of Plaintiff’ s Complaint state otherwise, they are denied. NCO

 

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denies any remaining allegations contained in 11 13 of Plaintiff"s Complaint for lack
of knowledge or information to form a reasonable belief therein.

14. The document speaks for itself and is the best evidence of its content.
NCO denies liability and damages, and to the extent the allegations contained in 11
14 of Plaintiff’s Complaint state otherwise, they are denied. NCO denies any
remaining allegations contained in 11 14 of Plaintiff"s Complaint for lack of
knowledge or information to form a reasonable belief therein.

15. NCO denies the allegations contained in 11 15 of Plaintiff"s Complaint
for lack of information and knowledge to form a reasonable belief therein.

16. NCO denies the allegations contained in 11 16 of Plaintiff’s Complaint
for lack of information and knowledge to forma reasonable belief therein.

17. NCO denies the allegations contained in 11 17 of Plaintiff’ s Complaint
for lack of information and knowledge to forma reasonable belief therein.

18. NCO denies the allegations contained in 11 18 of Plaintiff"s Complaint.

19. The document speaks for itself and is the best evidence of its content.
NCO denies liability and damages, and to the extent the allegations contained in 11
19 of Plaintiff's Complaint state otherwise, they are denied. NCO denies any
remaining allegations contained in 11 19 of Plaintiff’s Complaint for lack of

knowledge or information to form a reasonable belief therein.

 

 

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20. NCO denies the allegations contained in 11 20 of Plaintiff's Complaint
for lack of knowledge or information to form a reasonable belief therein
21. NCO denies the allegations contained in 11 21 of Plaintiff’ s Complaint
for lack of knowledge or information to form a reasonable belief therein
COUNT l

DEBTOR’s CLAIM FoR vloLATIoNs oF THE DISCHARGE oRl)ER
(11 U.s.C. § 524)

NCO reasserts the foregoing as if fully incorporated herein
22. The discharge speaks for itself and is the best evidence of its content.
NCO denies liability and damages, and to the extent the allegations contained in 11
22 of Plaintiff"s Complaint state otherwise, they are denied. NCO denies any
remaining allegations contained in 11 22 of Plaintiff"s Complaint for lack of
knowledge or information to form a reasonable belief therein
23. NCO denies the allegations contained in 11 23 of Plaintiff"s Complaint
for lack of knowledge or information to form a reasonable belief therein
24. NCO denies the allegations contained in 11 24 of Plaintiff"s Complaint
for lack of knowledge or information to form a reasonable belief therein
25. NCO denies the allegations contained in 11 25 of Plaintiff"s Complaint

for lack of knowledge or information to form a reasonable belief therein

 

 

 

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26. NCO admits that it responded to counsel’s July 30, 2007 letter.
Except as specifically admitted the allegations contained in 11 26 of Plaintiff’ s
Complaint are denied.
1 27. NCO denies the allegations contained in 11 27 of Plaintiff’s Complaint
` for lack of information or knowledge to form a reasonable belief therein
28. NCO denies the allegations contained in 11 28 of Plaintiff’s Complaint
for lack of information or knowledge to form a reasonable belief therein
29. NCO denies the allegations contained in 11 29 of Plaintiff’s Complaint
for lack of information or knowledge to form a reasonable belief therein
30. NCO denies the allegations contained in 11 30 of Plaintiffs Complaint.
31. NCO denies the allegations contained in 11 31 of Plaintiff’s Complaint.
32. NCO denies the allegations contained in 11 32 of Plaintiff"s Complaint.

33. NCO denies the allegations contained in 11 33 of Plaintiffs Complaint.

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DEBTOR’S CLAIM FOR VIOLATION OF THE FAIR DEBT
COLLECTION PRACTICES ACT

NCO reasserts the foregoing as if fully incorporated herein
34. NCO admits the allegations contained in 11 34 of Plaintiff’s Complaint

unless otherwise established through ongoing investigation and discovery.

 

 

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35. NCO denies the allegations contained in 11 35 of Plaintiff’s Complaint.
36. NCO denies the allegations contained in 11 36 of Plaintiff’s Complaint.
37. NCO denies the allegations contained in 11 37 of Plaintiff’s Complaint.
38. NCO denies the allegations contained in 11 38 of Plaintiff’ s Complaint.
39. NCO denies the allegations contained in 11 39 of Plaintiff" s Complaint.
40. NCO denies the allegations contained in 11 40 of Plaintiff s Complaint.
41. NCO denies the allegations contained in 11 41 of Plaintiff's Complaint.

AFFIRMATIVE DEFENSES BY NCO

1. Plaintiff has not stated a claim upon which relief may be granted.

2. This Court does not have subject matter jurisdiction to decide an
FDCPA claim.

3. To the extent that any violations are established, any such violations

were not intentional and resulted from bona fide error notwithstanding the
maintenance of procedures reasonably adapted to avoid any such error.

4. NCO denies any liability; however, regardless of liability, Plaintiff
has suffered no actual damages as a result of NCO’s purported violations.

5. Any harm suffered by Plaintiff was legally and proximately caused by
persons or entities other than NCO and were beyond the control or supervision of

NCO or for whom NCO was and is not responsible or liable.

 

 

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WHEREFORE, Defendant, NCO Financial Systems, Inc. requests that the

Court dismiss this action with prejudice and grant it any other relief that the Court

deems appropriate

DATED this 24th day of November 2008.

Respectfully submitted,

McLain & Merritt, P.C.

§\__,_

Albert J. DeCusati
Georgia Bar No. 215610
Counsel for NCO

 

3445 Peachtree Road, N.E.
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CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that on the 24th day of November 2008 a copy of the
foregoing document was sent via U.S. Mail First Class to:

Zane P. Leiden, Esq.
Leiden and Leiden
330 Telfair Street

Augusta, GA 30901

Asset Management Professionals, LLC
c/o Mr. Kenneth Bergman

3235 Satellite Blvd., #400-100

Duluth, GA 30096

Respectli,llly submitted,

McLain & Merritt, P.C.

¢e/`

Albert J. DeCusati
Georgia Bar No. 215610
Counsel for NCO

 

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M. DAVID MERR|TT
CHH|$TQPHEF\' D. Or_Ms'rl-:AD
F\'OBERT B, Hll_l_
HOWARD M. LESS|NGER
THOMAS C. HOLCOME\
WlL_L_iAM 5. BuTTON
Nl-:li. 5. MoansRc)E
A\_E\ERT ._l_ DEC\JSAT\
Jul_li-: CH|\_DS

JEFFRE¥ E. ch.KC:C>x
C_ EDWARD GOODGAME
K. BRENT WARREN
“l“RAvls D, l_AcKr-;Y
ANTHQNY J. BAG|AT:S
CLAv~rcxN E, RC)E\ERTSC>N
JOHN C. ST\_INDA
ASHL.EV C. A\_E)(ANDER
DAWN M. Rlvl-:RA

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A PROFESS|ONAL CORF'ORATION
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(404) 266-9171

November 24, 2008

C|erk, U.S. Bankruptcy Court
for the Southern District of Georgia

P.O. BOX 1487

Augusta, Georgia 30903

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FAX
(404) 364-3135
(404) 364-3135

REAL ESTATE FAX
(404) 364-3134

OF CouNsi-:\_;
SARAH B. TERRE\_|_

Re: Caro|vn Crocker v. NCO Financial Svstems, |nc. and Asset Management
Professiona|s LLC

 

U.S. Bankruptcy Court for the Southern District of Georgia,
Augusta Division, Adversary No. 08-1053-SDB

Dear Sir or Madam:

Enc|osed please find the original and a copy of Defendant’s Answer in the above-
referenced case_ Please file the original with the Court, and return a stamped tl|ed copy
in the enclosed envelope.

Thank you for your assistance

With best regards, | remain

D|V|R:me
Enc|osures

Very truly yours,

|N & MERRITT, P.C.

DaWn |V|. Rlvera

 

